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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION



  George R. Carlucci,

            Plaintiff,

  v.                                            Case Number 6:20-cv-1254

  Custom Empire LLC &
  Kyle D. Green,

            Defendants.



                                       Complaint

        1.        The Plaintiff, George R. Carlucci, sues Defendants, Custom Empire

 LLC and Kyle D. Green, pursuant to 29 U.S.C. § 216(b) for not paying overtime.

        2.        The Honorable Court has original jurisdiction pursuant to 29 U.S.C.

 § 216(b).

        3.        Venue is appropriate in Orlando pursuant to 28 U.S.C. § 1391(b)(1)

 and (2).

        4.        Plaintiff worked for Defendants in Orlando, Florida from on or

 about June 2018 to on or about April 2020.

        5.        Defendant Green hired Plaintiff.

        6.        Defendant Green set Plaintiff’s pay.



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       7.     Defendant Green changed Plaintiff’s pay.

       8.     Defendant Green supervised Plaintiff.

       9.     Defendant Green terminated Plaintiff.

       10.    Defendant Custom Empire LLC is a single member Florida limited

 liability company.

       11.    Defendant Custom Empire LLC is a one-stop collision,

 performance, audio, and mechanical repair shop.

       12.    Defendant Green is the only member of the limited liability

 company.

       13.    Defendants paid Plaintiff $20.00 per hour for the first few months

 he worked for them.

       14.    Thereafter Defendants paid Plaintiff $25.00 per hour.

       15.    Plaintiff was paid on an hourly rate.

       16.    Plaintiff was not paid a salary.

       17.    Plaintiff was not paid by commission.

       18.    Plaintiff was not a tipped employee.

       19.    Plaintiff’s job duties involved all facets of working at a body shop.

       20.    Plaintiff routinely worked over 40 hours a week.

       21.    Regardless of whether the hours were over 40 or below 40 in a

 workweek Plaintiff was paid the same hourly rate.


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         22.   Plaintiff, early in his career with Defendants, asked Defendant

 Green about getting paid overtime (i.e. time and one half) and Defendant Green

 replied that “he can’t pay overtime.”

         23.   Plaintiff needed the work so he continued to work for Defendants

 without receiving overtime premium pursuant to 29 U.S.C. § 207.

         24.   Although Defendant Green claimed that he couldn’t pay Plaintiff

 overtime, Defendants were obligated pursuant to the Fair Labor Standards Act

 (FLSA) to pay overtime.

         25.   Defendants have annual gross revenues in excess of $500,000.00 per

 year.

         26.   More precisely Defendants have had annual revenues of around

 $1,000,000.00 per year in 2017, 2018 and 2019.

         27.   Defendants employ employees that handle goods or materials that

 have moved in interstate commerce.

         28.   Specifically, Defendants employ employees that handle tools

 manufactured outside of Florida, chemicals produced outside of Florida and

 body parts that have moved in interstate commerce.

         29.   Defendants are an enterprise as defined by Section 3(r) of the FLSA.

         30.   Defendants are an enterprise engaged in commerce as defined by

 Section 3(s) of the FLSA.


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         31.   Defendants knew or should have known about the existence of the

 FLSA.

         32.   Defendants knew that Plaintiff was not paid a salary.

         33.   Defendants knew that Plaintiff was paid hourly.

         34.   Defendants knew that Plaintiff worked more than 40 hours a week

 without receiving time and one half of his regular rate for overtime hours.

         35.   Defendants paid Plaintiff on a weekly basis.

         36.   Plaintiff’s damages may be calculated through the records of

 Defendants.

         37.   The damage calculation would be the half time rate not paid (e.g.

 $10.00 or $12.50 per hour) for overtime hours.

         38.   Plaintiff does not possess all time and pay records.

         39.   Defendants are required to possess these records pursuant to

 Section 11(c) of the FLSA.

         40.   Plaintiff possesses some of the time and pay records. For

 demonstrative purposes Plaintiff attaches the paycheck stubs that he has in his

 possession. The paycheck stubs demonstrate that Plaintiff worked varying hours,

 that he was paid an hourly rate and that he received straight time for overtime.

         41.   Defendants did not rely upon advice of counsel in paying Plaintiff

 straight time for overtime.


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       42.    Defendants did not rely upon any DOL Wage & Hour Opinion

 letters opining that an hourly paid employee may be paid straight time in lieu of

 time and half.

       43.    Defendants did not rely upon a provision of the FLSA that excuses

 the payment of overtime to Plaintiff.

       44.    Defendant Green has made a good living through its enterprise.

       45.    Defendants owe Plaintiff unpaid overtime pursuant to the FLSA.

       Wherefore, Plaintiff demands that Defendants produce all his paycheck

 stubs, produce the names and contact information of all employees that have not

 been paid time and half within the past three years, pay all of its employees that

 are owed overtime within the past three years overtime plus liquidated damages,

 judgment jointly against Defendants for violating the FLSA, unpaid overtime,

 liquidated damages, interest, attorneys’ fees and costs.

       Respectfully submitted this 14th day of July 2020,

                                          /s/ Bernard R. Mazaheri_________
                                          Bernard R. Mazaheri
                                          Florida Bar Number 643971
                                          Mazaheri & Mazaheri
                                          325 Shelby Street
                                          Frankfort, Kentucky 40601
                                          Tel – (502) 475-8201
                                          Email – bernie@thelaborfirm.com




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                   Paycheck Stubs in Plaintiff’s Possession
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